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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



                                                       No.: 2: 17-cv-00233-SRC-CLW
AMANDA BEEZLEY, Individually and on
Behalf of All Others Similarly Situated,
                                                                    ORDER
                         Plaintiff,
                                                       APPOINTING LEAD PLAINTIFFS
           vs.
                                                       AND CO-LEAD COUNSEL
FENIX PARTS, INC., KENT
ROBERTSON, and SCOTT PETTIT,
                                                       CLASS ACTION
                         Defendants.


          WHEREAS, the above-captioned securities class action has been filed against Fenix

Parts, Inc., et al. (collectively “Defendants”), alleging claims under Sections 10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule lOb-5 promulgated

thereunder;

          WHEREAS, pursuant to the Private Securities Litigation Reform               Act of 1995

(“PSLRA”), 15 U.S.C.     §   78u-4(a)(3)(A)(i), on January 12, 2017, plaintiff in the above-captioned

action caused notice to be issued to potential class members of the action and informed them of

their right to move to serve as lead plaintiff within 60 days of the date of the issuance of said

notice;

          WHEREAS, on March 13, 2017, Thomas Weeks, Douglas Barnard and Keith B. White

(“Movants”) timely moved the Court for appointment as Lead Plaintiffs and to approve their

selection of counsel;

          WHEREAS, the PSLRA, provides, inter alia, that the most-adequate plaintiff to serve as

lead plaintiff is the person or group of persons that has either filed a complaint or has made a

motion in response to a notice, and has the largest financial interest in the relief sought by the

Class and satisfies the pertinent requirements of Fed. R. Civ. P. 23;


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                                                       _____________________
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          WHEREAS, the Court finds that Movants have the largest financial interest in this action

and prima fade satisfy the typicality and adequacy requirements of fed. R. Civ. P. 23. See 15

U.S .C.   § 78u-4(a)(3)(B)(iii)(I); and
IT IS HEREBY ORDERED THAT:

          APPOINTMENT OF LEAD PLAINTIFFS AND CO-LEAD COUNSEL

          1.     Pursuant to Section 21D(a)(3)(B) of the Exchange Act, 15 U.S.C.               § 78u-
4(a)(3)(B), Movants are appointed as Lead Plaintiffs of the class, as Movants have the largest

financial interest in this litigation and otherwise satisfy the requirements of Fed. R. Civ. P. 23.

          2.     Movants’ choice of counsel is approved, and accordingly, Glancy Prongay &

Murray LLP and Levi & Korsinsky LLP are appointed as Co-Lead Counsel and Carella, Byrne,

Cecchi, Olstein, Brody & Agnello, P.C., are appointed as Liaison Counsel.

          3.     Co-Lead Counsel, after being appointed by the Court, shall manage the

prosecution of this litigation. Co-Lead Counsel are to avoid duplicative or unproductive activities

and are hereby vested by the Court with the responsibilities that include, without limitation, the

following: (1) to prepare all pleadings; (2) to direct and coordinate the briefing and arguing of

motions in accordance with the schedules set by the orders and rules of this Court; (3) to initiate

and direct discovery; (4) prepare the case for trial; and (5) to engage in settlement negotiations

on behalf of Lead Plaintiffs and the Class.

SO ORDERED:


DatedV                    ,20l7
                                                       HO .CATHYiWALDOR
                                                       UNITED STATES MAGISTRATE JUDGE




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